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April 26, 2016

 

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DOMINION DEVELOPMENT : NO. 3:15-cv-00961-MEM
GROUP, :

Plaintiff, : VOLUME If
vs.

CINDY BEYERLEIN and
BOENNING &
SCATTERGOOD,

Defendants.

Tuesday, April 26, 2016

VIDEOTAPED DEPOSITION of TIMOTHY MARKLEY,
taken pursuant to notice, held at the law offices of
SAUL EWING, LLP, Centre Square West, 1500 Market Street,
38th Floor, Philadelphia, Pennsylvania 19102, commencing
at 1:10 a.m., before Jean M. Walker, Court Reporter -

Notary Public there being present:

 

 

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April 26, 2016

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LRP PEARANCE S: 1 THE VIDECGRAPHER: This is the
PERRUCCT LAW CORPORATION 2 videotaped deposition of Tim Markley in
3 BY: ANGELO HM. PERRUCCT, JUNIOR, ESQUIRE wo
828 Walnut Avenue 3 the matter of Dominion Development Group
4 Baston, Peonsylvania 186642 e : >
4 versus Cindy Beyerlein and Boeming, et
5 * ead crates TDrareich ¢
Reprenoneing the plaineste 5 al., in the United States District Court
6 6 for the Middle District of Pennsylvania.
Unk OFF Of JEFFREY S. }
7 BY: EFPREY S$. KAT? 7 This deposition is being held at Saul
$2 Trinity Str , . .
a Rewkoa, New Je 8 Ewing, LLC on April 26, 2016.
2 oe ote 8 My name is Jonathan Vaders for
10 Representing the Plaintiit 10 U.S. Legal Support, and I am the video
THE LAW OFFICES OF GEORGE BD. CEADA, B.C. 11 specialist. The court reporter today is
a BY: GEORGE P. CHADA, "
224 Sammie Drive 12 Jean Walker, also from U.S. Legal Support.
Natrona Hei S
tau2) 370 13. We are going on the record at 1:09 p.m.
8 ° ing thay Beyertein 14 Counsel will. now state their appearances
14 a 15 for the record.
SAUL EWING, LLP
a5 BY: don Pp. s 16 MR. STOVIAK: dchn Stoviak for
16 17 defendant Boenning & Scattergood.
7 18 MS. EDMUNDS: Emily Evans for
18 19 Boenning & Scattergood.
. 20 MR. CHADA: George Chada on
20 24 behalf of Dr. Cindy Beyerlein, defendant.
ALSO
an VIDEOGRAPHER 22 MR. KATZ: Jeffrey Katz on
22 OG Benen 23 «behalf of the plaintiff.
> 5 SEP RT » o NM
2a LUCY MAS? 24 MR. PERRUCCI: Angelo M.
“4 25  Perrucei, Junior on behalf of the
25
Page 3 Page 5
1 INDEX 1 plaintiff.
; 2 THE VIDECGRAPHER: Will the
4 WTRESS PAGE 3 court reporter please swear in the
5  TINOTHY MARKLEY 4 witness?
6 5 wm
DIRECT EXAMINATION 6 TIMOTHY MARKLEY, after having
7 BY: MR. STOVIAK 5 4 been duly sworn, was examined and
a CROSS - EXAMINATION 7 been duly sworn, was examined anc
BY: MR. PERRUCCI 64 8 te led as follows:
3 Gq oa
CROSS-EXAMINATION .
10 BY: MR, CHADA 68 10 DIRECT EXAMINATION
1 i .
13 12 MR. STOVIAK: Before we start,
14 EXHIBITS 13 Mr. Markley, Mr. Perrucci, could you
15 NO. DESCRIPTION PAGE . 4 . . .
16 i4 please identify the other people that. are
MARKLEY-1 6/1/2009 LETTER 42 15 present, since I think they are all
M7? ae toad
6 sommected to you?
MARKLEY-2 11/7/2015 LETTER a4 16 CONECEEG EG YOu
18 17 MR, PERRUCCI: Sure. We've got
19 MARKLEY-3 3/14/2009 DOCUMENT 48 18 Brian Wheaton, Lucy Masi, John
- MARKLEY-4 AGREEMENT OF SALE 49 19 DellaVecchia, are al] present here as
20 20 well.
MARKLEY-5 LETTER 49
24 21 MR. STOVIAK: As well as --
MARKLEY~6 49 22 MR. PERRUCCI: I'm sorry, as
22 welt ans the nhainkiffé. Me at
MARKLEY-7 49 23 well as the plaintiff, Mr. Masi.
23 24 BY MR, STOVIAK:
a 25 Q, Good afternoon, Mr. Markley, how are you?
oe)

 

 

 

 

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Timothy Markley

 

 

 

   

 

 
    

 

April 26, 2016 34 to 37

Page 34 Page 36
Scatterqood. I don't know. She didn't present, 1 many years people would say, Tim, how is it going,
veally, much to me at all. When she calied me up 2 you're hancing in up there, it turned into, how is
two weeks later or so, she seemed very concermed 3. your partner -- what's your Masi vp to? They'd
about. me personally. 2 asked if she could help me 4 almost spit it at me.
figure out the finances and how so much money could 5 Q, So your belief prior to ever meeting --
be spent, and we have absolutely nothing to show for | 6 A. Yeah.
it. 7 Q. ~- Cindy Beyerlein was that he made -- he
Q What did she say? 8 was toxic in the community?
A. She said, well, I'll do what I can. She 9. OA; Yes,
said, Fred is very concemed about you. 10 «Q. Okay. Had you asked him to buy you and
Q. What was your relationship with Fred 11 Lisa out prior to Ms, Beyerlein -~ prior to you
MoKillop? I take it you knew him before this? 12 meeting Cindy Beyerlein?
A. Yes. He had worked for us in the past for ;13 A. There were discussions over many years of
a brief time. He worked as a Liaison to help us 14 «different buyout agreements, but every one of them
secure some grant money. He told we that he never 15 was convoluted and had strings attached, so starting
received the follow-up documentation for the grant 16 in 2023, when I asked for records of the finances
money, which helped his -~ which hurt his reputation | 17 and stuff and staxvted getting stalled, Cindy
within the community that he works with in 18 Beyerlein recommended that I get in touch with an
Harrisburg. 19 attomey and try to negotiate a purchase by
Q. Who was he supposed to recelve the 20 Mr. Masi.
follow-up from? 2.60. Did you get. in touch with an attorney?
A, From Mr. Masi. The grants went throug 22,~=«AL I did.
Mr. Masi's accounts, and Mr. Masi was supposed to 230«Q. Nicole Plank?
finalize and do reports. Fred said he never got 240. Nicole Plank.
them. 25 0. What resulted from that?

Page 35 Page 37
Q. nid Ms. Beyerlein and you have some other LA. There was negotiations back and forth for
conversations through 2013 about your personal 2 several months with Mr, Masi's attorney.
cencermns? 3°¢92 is that Mr. Swayze?
A. Yeah, I explained to her my situation, and | 4° A. Mr. Pete Swayze, whatever his name is.
she said, you have ~- she goes 1'1] help you 5 QO. And wag it negotiations over documents or
whatever I can as a friend. We tried to figure out 6 was it negotiations over an actusl buyout?
how to get out of this mess, and it seemed like 7° 4WW We wanted to be bought out and we wanted
there was three options; file bankruptcy, make a & to get away from Mr. Masi, and we tried several
purchase agreement. with Mr. Masi, and she suggested 9 different scenarios that were, in my estimation,
that would be the best thing for me. 10 very fair, and from the attorney, Plank's,
Q. Por you to buy him out -~ 41 estimation were very fair. The problem was Mr. Masi
A. No, for him to buy me and Lisa out. He 12 is not capable of making an honest deal, Every one
wanted to do this development, he wanted tc borrow 13 of them had hooks in me and Lisa. We had to agree
$50 million, he wanted to keep changing the scope, 14 to everything that he wanted done or we didn't get
and now he was doing a wellness center and -~ 15 our money. The last one we received was Chat when
on What was the third option aside from 16 he got his first five million, we'd get 100,000.
buying you out or filing bankruptcy? 17) When he got hig next 10 million, we'd get 150,000,
Ae Trying to stabilize the project and take 18 JI believe there was ne intention to go any further
care of the investors and ask Mr. Magi to walk away, | 19 Chan one or two draws, and leave me and
because he made this project: toxic. 20 Ms. Iutterschmidt with the bill.
Q. You say he made the project toxic -- 218. So prior to your meeting Cindy Beyerlein
A, With the local community. 22 the first time, you wanted to get away from
on -~ was that your belief before you met 23 Myr. Masi?
Ms. Beyerlein? 24 A, Well, by early 2012 -- 2012 -- late 2012,
A. Yes, for the last several years ~- for 25 (13, he had already gone behind my back te

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